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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF DELAWARE



 CONSUMER FINANCIAL PROTECTION BUREAU,

                Plaintiff,
                                                             Case No. 17-1323-SB
                v.

  NATIONAL COLLEGIATE MASTER STUDENT
  LOAN TRUST, et al.,

                Defendants.


                              JOINT STIPULATION OF
                       VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Consumer Financial

 Protection Bureau and Defendants National Collegiate Master Student Loan Trust, National

 Collegiate Student Loan Trust 2003-1, National Collegiate Student Loan Trust 2004-1, National

 Collegiate Student Loan Trust 2004-2, National Collegiate Student Loan Trust 2005-1, National

 Collegiate Student Loan Trust 2005-2, National Collegiate Student Loan Trust 2005-3, National

 Collegiate Student Loan Trust 2006-1, National Collegiate Student Loan Trust 2006-2, National

 Collegiate Student Loan Trust 2006-3, National Collegiate Student Loan Trust 2006-4, National

 Collegiate Student Loan Trust 2007-1, National Collegiate Student Loan Trust 2007-2, National

 Collegiate Student Loan Trust 2007-3, National Collegiate Student Loan Trust 2007-4

 (collectively, “Defendants”) stipulate that the above-captioned action is voluntarily dismissed in

 its entirety against all Defendants, with prejudice, with each party bearing its own costs,

 expenses and attorneys’ fees.




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 Dated: April 25, 2025                         Respectfully submitted,

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